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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

NISA, INC.,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, D’WANNA WILLIAMS (“Plaintiff”) by and through the

undersigned counsel, hereby files this Complaint and sues NISA, INC., for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff, D’WANNA WILLIAMS (hereinafter referred to as

“WILLIAMS”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. WILLIAMS suffers from what constitutes a

“qualified disability” under the Americans With Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she suffers

from paraplegia and has had amputation of both of her legs and requires a wheelchair

for mobility.    Prior to instituting the instant action, WILLIAMS visited the

Defendant’s premises at issue in this matter on numerous occasions, and was denied

full, safe and equal access to the subject properties due to their lack of compliance

with the ADA. WILLIAMS continues to desire and intends to visit the Defendant’s

premises but continues to be denied full, safe and equal access due to the barriers to

access that continue to exist.

      4.      The Defendant, NISA, INC., is a corporation registered to do business

and, in fact, conducting business in the State of Alabama. Upon information and

belief NISA, INC., (hereinafter referred to as “NISA”) is the owner, lessee and/or

operator of the real property and improvements that are the subject of this action,

specifically: Marathon Gas Station, Convenience Store and Package Store located at

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2855 Pelham Parkway, in Pelham, Alabama (hereinafter referred to as the

"Convenience Store").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the

Convenience Store owned by NISA is a place of public accommodation in that it is

a retail Convenience Store operated by a private entity that provides goods and

services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Convenience Store in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

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access to, and the benefits of the services offered at the Convenience Store owned

by NISA. Prior to the filing of this lawsuit, Plaintiff personally and regularly visited

the Convenience Store at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant’s premises and therefore suffered an

injury in fact as a result of the barriers to access listed in Paragraph 11, below, that

she personally encountered. In addition, Plaintiff continues to desire and intends to

visit the Convenience Store, but continues to be injured in that she is unable to and

continues to be discriminated against due to the barriers to access that remain at the

Convenience Store in violation of the ADA. WILLIAMS has now and continues to

have reasonable grounds for believing that she has been and will be discriminated

against because of the Defendant’s continuing, deliberate and knowing violations of

the ADA.

      10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.    NISA is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302

et seq. and is discriminating against the Plaintiff as a result of inter alia, the

following specific violations that Plaintiff personally encountered:

             i.     There is a van accessible parking space but it lacks raised

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                  signage to designate it as such and it is not located on the
                  shortest accessible route to the main entrance of the
                  Convenience Store or the Package Store;

           ii.    There is a curb ramp providing an accessible route onto the
                  sidewalk that leads to the main entrance; however, that
                  sidewalk is obstructed by a pillar and vending machines, such
                  that no accessible route is provided from the curb ramp to the
                  main Convenience Store entrance;

           iii.   There is an accessible route into the Package Store from the
                  exiting curb ramp, however, there is an interior door separating
                  the Package Store from the Convenience Store and there is
                  insufficient wheelchair maneuvering clearance for a wheelchair
                  user to pass through this door independently, such that no
                  accessible route into the Convenience Store is provided;

           iv     There is a ramp at the main entry to the Convenience Store such
                  that no level maneuvering clearance is provided for a
                  wheelchair user to enter the Convenience Store independently;

           v.     The rear grab bars at the water closets in the public toilet rooms
                  are too short;

           vi.    The flush valves on the water closets in the public toilet rooms
                  face the narrow side of the water closets, out of reach of a
                  wheelchair user;

           vii.   The soap dispensers in the public toilet rooms are out of reach
                  for a wheelchair user;

           viii. The mirrors in the public toilet rooms are too high for a
                 wheelchair user;

     12.   There are other current barriers to access and violations of the ADA at

the Convenience Store owned and operated by NISA that were not specifically

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identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

NISA was required to make its Convenience Store, a place of public

accommodation, accessible to persons with disabilities by January 28, 1992. To

date, NISA has failed to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against NISA and requests

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the following injunctive and declaratory relief:

             A.    That the Court declare that the property owned and
                   administered by Defendant is violative of the ADA;

             B.    That the Court enter an Order directing Defendant to alter
                   its facilities to make them accessible to and useable by
                   individuals with disabilities to the full extent required by
                   Title III of the ADA;

             C.    That the Court enter an Order directing Defendant to
                   evaluate and neutralize its policies and procedures towards
                   persons with disabilities for such reasonable time so as to
                   allow them to undertake and complete corrective
                   procedures;

             D.    That the Court award reasonable attorney’s fees, costs
                   (including expert fees) and other expenses of suit, to the
                   Plaintiff; and

             E.    That the Court award such other and further relief as it
                   deems necessary, just and proper.

      Dated this 16th day of July, 2021.

                                               Respectfully submitted,

                                               By: /s/ Edward I. Zwilling
                                               Edward I. Zwilling, Esq.
                                               AL State Bar No.: ASB-1564-L54E
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